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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

BIRDIES IN THE PINES, LLC,                         §
                                                   §
                                                   §
                Plaintiff,                         §
                                                   §
v.                                                 §   CIVIL ACTION NO. 2:24-cv-45-JRG
                                                   §
NORTHFIELD INSURANCE COMPANY,                      §
                                                   §
                Defendant.                         §
                                             ORDER
       Before the Court is Plaintiff’s Motion to Remand (the “Motion”). (Dkt. No. 6.) In the

Motion, Plaintiff requests that the Court remand this case back to the 71st Judicial District Court

[of] Harrison County, Texas in view of a forum selection clause in a contract between Plaintiff and

Defendant. (Id. at 1–3.) In response, Defendant states that it “does not oppose the relief sought by
   .
Plaintiff’s Motion to Remand” and that it “hereby stipulates and agrees to the remand of this case

to the 71st Judicial District Court of Harrison County, Texas.” (Dkt. No. 7 at 1.)

       Having considered the Motion, and noting its unopposed nature, the Court finds that it

should be and hereby is GRANTED. It is therefore ORDERED that the above-captioned case be

REMANDED to the 71st Judicial District Court of Harrison County, Texas. The Clerk is directed

to take such steps as are necessary to effectuate this Order.

      So ORDERED and SIGNED this 14th day of March, 2024.




                                                          ____________________________________
                                                          RODNEY GILSTRAP
                                                          UNITED STATES DISTRICT JUDGE
